UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
-against-
CESAR ALTIERI SAYOC,

Defendant.

 

 

 

JED S. RAKOFF, U.S.D.J.

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18-cr-820 (JSR)

 

 

 

 

 

 

ORDER

The Court is in receipt of Report by Dale Mann, submitted}

today by the defense, which will now be docketed.

SO ORDERED.

Dated: New York, NY

July lb, 2019

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JED S. RAKOFF, U.S.D.Jd.
